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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO. 1:21-cv-21714-JG

    Guantanamera Cigars Company,

                          Plaintiff,
           v.

    SMCI Holding, Inc., Swedish Match North
    America, LLC, Swedish Match USA, Inc.,
    Sam’s West, Inc., and Costco Wholesale
    Corporation,
                        Defendants.
                                           /
          ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR
                                    CONTINUANCE
        THIS MATTER came before the Court on Defendants SMCI Holding, Inc,

  Swedish Match North America, LLC, Swedish Match USA, Inc., Sam’s West, Inc., and

  Costco Wholesale Corporation (collectively “Defendants”) Unopposed Motion for

  Continuance (“Motion.”) The Court being duly advised in the premises, finds the Motion

  should be granted. Accordingly, it is:

        ORDERED AND ADJUDGED that the Motion is GRANTED. The trial scheduled

  to begin on Monday, June 27, 2022 is hereby rescheduled.

        DONE AND ORDERED in Chambers, in Miami, Florida, on June 24, 2022.




  Copies furnished to:
  All counsel of record
